EXHIBIT A
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 7               SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8
     BLC WATER COMPANY, LLC, INDIANA
 9   WATER TECHNOLOGY, LLC,                      No.
     COLEWSTECH, LLC, RCWSTECH 1157,
10   LLC, ROYAL RESERVOIRS, LLC,                 COMPLAINT FOR DAMAGES AND
     CHAURISHI RETAIL ENTERPRISES, LLC,          EQUITABLE RELIEF
11   KDAWG CRYPTO, LLC, PACIFIC WATER
     TECHNOLOGY, LLC, KWANSOO LEE,               RELATED CASES:
12   DDS, PLLC, KWANSOO LEE, BRIAN CHU,
     BRIAN CHU DDS, INC., LARINA CHU,            No. 24-2-12567-1 SEA
13   LAURINA CHU DDS, INC., BRIAN AND            No. 24-2-19871-7 SEA
     LAURINA CHU DDS, INC., DAVID                No. 24-2-10753-3 SEA
14   SCHROEDER, SARAH SCHROEDER, RON             No. 24-2-08418-5 SEA
     COLE, KAREN LAVIN, BASANT KUMAR,
15   DEREN FLESHER, TYLER SADEK, AND
     FOUNDERS MOSAIC PARTNERS, LLC,
16
                 Plaintiffs,
17
           v.
18
     FIRST FED BANK, FIRST NORTHWEST
19   BANCORP, NORMAN TONINA, CRAIG
     CURTIS, JENNIFER ZACCARDO, CINDY
20   FINNIE, DANA BEHAR, MATTHEW
     DEINES, SHERILYN ANDERSON,
21   GABRIEL GALANDA, LYNN
     TERWOERDS, JOHN DOES 1-10,
22
                 Defendants.
23

24         Indiana Water Technology, LLC, BLC Water Company, COLEWSTECH, LLC,

25   RCWSTECH 1157, LLC, Royal Reservoirs, LLC, Chaurishi Retail Enterprises, LLC, Pacific

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 1
     Water Technology, LLC, Kwansoo Lee, Kwansoo Lee DDS, PLLC, Brian Chu, Larina Chu,
 2
     Brian Chu DDS, Inc., Larina Chu DDS, Inc., Brian and Larina Chu DDS, Inc., David
 3
     Schroeder, Sarah Schroeder, Ron Cole, Karen Lavin, and Basant Kumar, by and through their
 4
     undersigned counsel, John T. Bender of Corr Cronin LLP, and Founders Mosaic Partners,
 5
     LLC, and Tyler Sadek, by and through their undersigned counsel (collectively, “Plaintiffs”),
 6
     for their Complaint against Defendants First Fed Bank (“First Fed”), First Northwest
 7
     Bancorp, Norman Tonina, Craig Curtis, Jennifer Zaccardo, Cindy Finnie, Dana Behar,
 8
     Matthew Deines, Sherilyn Anderson, Gabriel Galanda, Lynn Toewoerds, and John Does 1-
 9
     10 (“Defendants”), allege and state as follows:
10
                                        NATURE OF ACTION
11
            1.      This suit arises out of First Fed’s violation of its state law duties to Plaintiffs
12
     and substantial contribution to sales of unregistered securities.
13
            2.      First Fed is a Washington state chartered bank with total assets of over $2
14
     billion and a history of engaging in unsafe, unsound, and deceptive business practices.
15
            3.      Beginning in late 2021, First Fed issued a number of business loans to retail
16
     investors who were led to believe that they were investing in both a legitimate franchise
17
     opportunity and profitable business that they could use to support themselves and their
18
     families. In reality, it was all a lie. Unbeknownst to Plaintiffs at the time, they were induced
19
     to borrow money from First Fed to invest under false pretenses and, by doing so, they became
20
     the victims of a heartbreaking fraud.
21
            4.      This case is about First Fed’s failures to observe its standard underwriting
22
     responsibilities and failures to disclose information that would have been material to
23
     Plaintiffs’ decisions to transact with First Fed. It is also about First Fed’s bad faith that
24
     continues to this day, and its ongoing demands that Plaintiffs repay the fraudulently induced
25

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     loans at all costs. At its core, this case is about a bank that chose to elevate its own financial
 2
     interests over the interests of its borrowers.
 3
            5.      Plaintiffs have been placed in a position that is simply unconscionable. In the
 4
     first instance, Plaintiffs were duped into financing the investment with loans from First Fed,
 5
     who failed to disclose material information and its conflicts of interests. And now, due to
 6
     First Fed’s insistence that Plaintiffs bear the entire economic loss, Plaintiffs face either the
 7
     loss of their homes or bankruptcy absent protective action by this Court.
 8
            6.      Accordingly, Plaintiffs now bring this action for orders voiding or rescinding
 9
     their fraudulently induced loan agreements and for any other relief the Court deems just and
10
     equitable.
11
                                                PARTIES
12
            7.      Pacific Water Technology LLC is a limited liability company registered in
13
     Washington and a borrower-investor. Dr. Kwansoo Lee, a resident of Washington, is the owner
14
     of Pacific Water Technology, and was also harmed by Defendants.
15
            8.      Indiana Water Technology LLC is a limited liability company registered in
16
     Indiana and a borrower-investor. David and Sarah Schroeder are married. David Schroeder is
17
     the owner of Indiana Water Technology and the Schroeders, residents of Indiana, were also
18
     harmed by Defendants.
19
            9.      BLC Water Company LLC is a limited liability company registered in Nevada
20
     and a borrower-investor. Dr. Brian Chu is married to Larina Chu. Brian Chu is the owner of
21
     BLC Water Company and the Chus, residents of California, and Brian Chu DDS, Inc., Laurina
22
     Chu DDS, Inc., and Brian and Laurina Chu DDS, Inc., California corporations owned by Brian
23
     and Laurina Chu, were also harmed by Defendants.
24
            10.     Kdawg Crypto LLC is a limited liability company registered in Connecticut and
25

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     a borrower-investor. Karen Lavin, a resident of Connecticut, is the owner of Kdawg Crypto and
 2
     was also harmed by Defendants.
 3
            11.     Chaurishi Retail Enterprises, LLC, is a limited liability company registered in
 4
     Oregon and a borrower-investor. Basant Kumar, a resident of Oregon, is the owner of Chaurishi
 5
     Retail Enterprises, LLC, and was also harmed by Defendants.
 6
            12.     RCWSTECH1157 LLC and COLEWSTECH LLC are limited liability
 7
     companies registered in Illinois and borrower-investors. Dr. Ron Cole, a resident of Illinois, is
 8
     the owner of RCWSTECH1157 and COLEWSTECH, and was also harmed by Defendants.
 9
            13.     Royal Reservoirs LLC is a limited liability company registered in Oklahoma
10
     and an investor. Dr. Deren Flesher, a resident of Oklahoma, is the owner of Royal Reservoirs
11
     and was also harmed by Defendants.
12
            14.     First Fed Bank is a state chartered commercial bank organized in Washington
13
     that, upon information and belief, engages in business activities in Snohomish County. Upon
14
     information and belief, First Fed Bank is a wholly owned subsidiary of First Northwest
15
     Bancorp.
16
            15.     First Northwest Bancorp is a holding company which, upon information and
17
     belief, owns and controls all shares of First Fed Bank and engages in business activities in
18
     Snohomish County.
19
            16.     Upon information and belief, Norman Tonina, Craig Curtis, Jennifer Zaccardo,
20
     Cindy Finnie, Dana Behar, Matthew Deines, Sherilyn Anderson, Gabriel Galanda, and Lynn
21
     Terwoerds are Washington residents. At present, Tonina, Curtis, Zaccardo, Finnie, Behar,
22
     Deines, Anderson, Galanda, and Terwoerds are officers and Governors of First Northwest
23
     Bancorp.
24
            17.     The Defendants listed in Paragraph 16 are referred to collectively herein as the
25

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     “Bank Governor Defendants.”
 2
                                     JURISDICTION AND VENUE
 3
            18.     This Court has subject matter jurisdiction and venue is appropriate as First Fed
 4
     engages in business in King County, Washington, and the fraudulently induced agreements that
 5
     are the subject of this action designate King County, Washington, as a permissible venue for
 6
     disputes. By bringing this action, however, Plaintiffs are not acquiescing to the subject
 7
     agreements and do not waive any rights, remedies, or claims applicable to these facts, all of
 8
     which are expressly reserved.
 9
                                     FACTUAL ALLEGATIONS
10
        A. First Fed is a Washington state bank that has a history of engaging in unsafe and
11         deceptive banking practices.
12          19.     First Fed is a state chartered bank and wholly owned subsidiary of First
13   Northwest Bancorp. According to recent regulatory filings, First Fed and its parent claim over
14   $2 billion in assets, primarily consisting of receivables from loans to the public.
15          20.     First Fed has a history of engaging in unsafe and deceptive banking practices.
16
        B. Plaintiffs were induced to invest with small business loans under false pretenses
17         and without knowing the extent of First Fed’s financial interest in Wear’s
           scheme.
18
            21.     In late 2021, Plaintiffs were induced to invest in a Washington based company
19
     founded by Ryan Wear known as “WaterStation Technology.”
20
            22.     Plaintiffs learned about the investment opportunity from a variety of sources.
21
     They were told that they would be purchasing a franchise to operate Wear’s proprietary
22
     machines (“WST 700s”) at revenue-generating locations around the country. They were told
23
     that they would receive annual returns ranging from 12% to 20%. They were assured that they
24
     would play an active role in the operation of their franchise and that they were investing in a
25

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     turnkey business with low overhead and positive cash flow that would generate steady revenues.
 2
            23.     Plaintiffs were encouraged to finance the investment with small business loans
 3
     from First Fed. Plaintiffs were assured that the value of the machines and monthly revenue
 4
     payments would more than offset their liabilities.
 5
            24.     However, at the time they invested, Plaintiffs did not know that the full extent
 6
     of First Fed’s financial interest in Wear’s operations.
 7
            25.     In 2020, First Fed agreed to issue three loans to Wear’s alter ego entities for a
 8
     total of $28 million.
 9
            26.     As part of the underwriting process for these loans, First Fed obtained
10
     substantial financial information from these entities as well as Ryan Wear and his business
11
     partner (and father) Richard Wear.
12
            27.     In parallel to issuing direct loans to Wear, First Fed also entered into a referral
13
     agreement with Wear and his companies.
14
            28.     Under the referral agreement, First Fed agreed to issue high risk loans to
15
     Wear’s investors and it developed a custom loan program through which to do so.
16
            29.     Under this custom loan program, First Fed employed a streamlined approval
17
     process that gave Wear the appearance of legitimacy. For example, First Fed did not conduct
18
     interviews of any of the Plaintiffs.
19
            30.     According to insider testimony, First Fed’s custom loan program contributed
20
     substantially to numerous securities sales. See Appendix A.
21
            31.     In addition, First Fed’s direct loans to Wear required him to submit audited
22
     financials of his business by a certain deadline and, of course, make certain regular payments.
23
            32.     According to insider testimony, Wear and his companies defaulted on First
24
     Fed’s direct loans in or about 2022.
25

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             33.     After declaring Wear and his entities in default, First Fed acted aggressively
 2
     to protect its own financial interests at Plaintiffs’ expense.
 3
             34.     Among other things, in exchange for forbearance, First Fed obtained deeds of
 4
     trust on 33 real properties owned and controlled by Wear and his family, which at today’s
 5
     prices are worth over $100 million.
 6
             35.     Prior to their investments, First Fed did not disclose its role as one of Wear’s
 7
     main lending and depository institutions or the information it alone had access to as a result.
 8
             36.     First Fed did not disclose that it had previously loaned Wear $28 million, or the
 9
     conflict of interest this posed.
10
             37.     First Fed did not disclose that with every loan to Plaintiffs, it was enabling Wear
11
     to repay his and his entity’s direct loans to First Fed, or the conflict of interest this posed.
12
             38.     First Fed did not disclose that its loan officers were in near daily text
13
     communication with Wear’s representatives about approving and processing investor loans. See
14
     Appendix B.
15
             39.     First Fed also did not disclose that, in the event of insolvency, it would have
16
     competing claims with its own borrowers by virtue of its direct loans to Wear, or the conflict
17
     of interest this posed.
18
             40.     Upon information and belief, First Fed did not disclose other material
19
     information about Wear’s operations and finances that would have been material to Plaintiffs’
20
     decision to invest.
21
             41.     First Fed’s failure to disclose prolonged the period before which Plaintiffs’
22
     learned of their claims in this action.
23
         C. First Fed engaged in reckless underwriting and other improper loan practices.
24
             42.     In addition to failing to disclose information that would have been material to
25

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     Plaintiffs’ decision to take out loans, First Fed owed and breached state law duties of care with
 2
     respect its handling of the loan process before and after closing.
 3
            43.     First Fed held itself out to its customers as “more than a bank” that provided
 4
     “services and expertise” designed to help “small and mid-size businesses grow and personal
 5
     customers to achieve their financial goals and dreams.”
 6
            44.     First Fed told its customers its mission was to “design and deliver delightful,
 7
     accessible and effortless financial solutions by empowering our team members to improve the
 8
     lives of those we serve.”
 9
            45.     First Fed told its customers that “[c]ommercial loans have unique
10
     considerations” and that it would use its knowledge to offer “custom solutions” for their small
11
     business needs.
12
            46.     First Fed also claimed that it was “accountable” and that it took “responsibility
13
     for [its] actions and decisions.”
14
            47.     Plaintiffs reasonably and justifiably relied on First Fed and its team of
15
     professionals to guide and support them through the process and to disclose any material
16
     information bearing on the transaction.
17
            48.     As noted, First Fed’s loans to Plaintiffs were issued as part of a custom loan
18
     program that it developed specifically for Wear’s investors.
19
            49.     On information and belief, First Fed agreed to refer investors to brokers and
20
     insurance companies.
21
            50.     First Fed had superior access to information as well as specialized knowledge
22
     and expertise that Plaintiffs relied on in making the decision to invest and sign the subject
23
     agreements.
24
            51.     In addition, Plaintiffs’ decision to invest, and do so with a loan, was premised
25

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     on the expectation that the loan proceeds would be used to purchase Wear’s machines—
 2
     machines they would then own and that would secure the investment. This was fundamental to
 3
     the validity and viability of the transaction.
 4
             52.     An integral part of Wear’s deception was furnishing fraudulent machine lists to
 5
     First Fed, which ostensibly contained serial numbers and address locations at which investor
 6
     machines were located.
 7
             53.     Indeed, a critical part of underwriting any loan from the standpoint of a bank is
 8
     implementing sufficient controls and safeguards to confirm collateral and root out fraud.
 9
             54.     Because First Fed issued multiple loans to Plaintiffs, it had access to more than
10
     one machine list. Each investor was only provided with their own machine list.
11
             55.     Only First Fed and Wear had access to more than one machine list.
12
             56.     Had First Fed performed a simple comparison of the machine lists provided by
13
     Wear, it would have detected that the machine lists were riddled with duplicate entries.
14
             57.     Upon comparison the machine lists show significant duplication of both serial
15
     numbers and addresses, indicating Wear was, at minimum, selling the same machines to
16
     different investors.
17
             58.     At minimum, this revelation should have triggered a fraud alert and prompted
18
     follow up actions to prevent a fraud on the bank and its borrowers. But this did not occur.
19
             59.     Had First Fed performed a minimum level of due diligence, it would have also
20
     discovered that Wear’s fraud ran deeper.
21
             60.     An examination conducted by Plaintiffs has revealed that no more than 10% of
22
     the purported machine “locations” actually have machines at that location. In other words,
23
     roughly 90% of the machines allegedly sold to investors do not exist at all.
24
             61.     First Fed’s access to machine lists riddled with duplicate or overlapping entries
25

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     put First Fed on notice of the fraud and gave rise to an affirmative duty to disclose to Plaintiffs.
 2
            62.       Among other things alleged herein, in connection with the loan transactions with
 3
     Plaintiffs, First Fed negligently and recklessly engaged in the following acts and omissions:
 4
                  a. First Fed failed to disclose that, by virtue of its direct loans to Wear, it had a
 5
                      conflict of interest with Plaintiffs;
 6
                  b. First Fed failed to disclose that, by virtue of its direct lending relationship with
 7
                      Wear, First Fed and Plaintiffs would hold competing claims in the event of
 8
                      insolvency;
 9
                  c. First Fed failed to disclose that the machine lists it had been provided were
10
                      riddled with duplication and repeats;
11
                  d. First Fed knew or should have known that Wear was selling the same machines
12
                      to multiple investors and/or that the machines did not exist;
13
                  e. First Fed failed to disclose that it was not doing site visits or requiring
14
                      independent verification of the existence of the machines Wear claimed to be
15
                      selling;
16
                  f. First Fed failed to disclose that UCC-1 searches revealed substantial duplication
17
                      between machines ostensibly sold to investors or, alternatively, that it was not
18
                      performing UCC-1 searches and charged for the service anyway;
19
                  g. First Fed failed to disclose that it was not doing site visits or requiring sufficient
20
                      independent verification of the existence of the machines that Wear claimed it
21
                      was selling;
22
                  h. To the extent that Wear’s activities ever triggered fraud alerts or other
23
                      compliance warnings at First Fed, these were never disclosed to Plaintiffs;
24
                  i. First Fed failed to disclose that Wear’s companies defaulted on its First Fed
25

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                     Street loans, were insolvent, or were otherwise unable to fulfill their financial
 2
                     obligations;
 3
                  j. First Fed failed to disclose that it was acting aggressively to secure its own
 4
                     financial position to the detriment of Plaintiffs;
 5
                  k. First Fed took security interests in collateral it had reason to know had been
 6
                     acquired or intermingled with improperly diverted funds;
 7
                  l. First Fed negligently and recklessly failed to follow prudent lending practices
 8
                     with respect to Plaintiffs’ loans;
 9
                  m. First Fed engaged in unfair and deceptive conduct as to Plaintiffs both before
10
                     and after closing of the loans;
11
                  n. First Fed failed to verify that funds from the loans to Plaintiffs were used by
12
                     Wear for the purposes required by the Loans, instead it simply forwarded the
13
                     loan funds to Wear’s operating account; and
14
                  o. First Fed allowed its commercial lending to become excessively concentrated in
15
                     loans to Wear and related entities and did not disclose this concentration to
16
                     Plaintiffs.
17
        D. First Fed profited in more ways than one.
18
            63.      In connection with the transactions involving Plaintiffs, First Fed profited from
19
     the scheme in several ways.
20
            64.      Upon information and belief, First Fed received hundreds of thousands, if not
21
     millions of dollars in down payments, monthly payments with interest and fees in connection
22
     with each loan.
23
            65.      Some Plaintiffs have been forced to continue making payments on their loans
24
     even after the fraud has been exposed out of fear that First Fed would take aggressive legal
25

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     action. As First Fed has already brought suit against multiple investors despite the fraud,
 2
     Plaintiffs’ fears were more than justified.
 3
             66.     Upon information and belief, First Fed also profited from Plaintiffs’ loans by
 4
     bundling and selling them on the secondary market.
 5
             67.     Plaintiffs’ loans also injected millions of dollars in capital that Wear could use
 6
     to repay First Fed for the $28 million it had previously loaned Wear.
 7
             68.     First Fed also benefited from the fact that, in the process of facilitating WST’s
 8
     scheme by providing financing, it harvested documents purporting to convey the bank security
 9
     interests in Plaintiffs’ personal assets, albeit under false pretenses.
10
         E. First Fed substantially contributed to Wear’s sales of unregistered securities to
11          Plaintiffs.
12           69.     While Plaintiffs’ financed investments were disguised to look like the sale of
13   franchise opportunities, the transactions actually constituted sales of unregistered securities. For
14   investors such as Plaintiffs, these unregistered securities were comprised of several legal
15   documents, which included Plaintiffs’ loan agreements and related documents with First Fed.
16           70.     First Fed played an indispensable role in facilitating the sale of Wear’s
17   unregistered securities to Plaintiffs. It provided the liquid capital that was essential for the
18   transaction to take place, and for the expectations of the parties to be met.
19           71.     The following table summarizes the amounts of Plaintiffs’ securities
20   transactions at issue that were facilitated by First Fed:
21
              Investor/Borrower                        Date                    Amount
22
              Chaurishi Retail Enterprises, LLC        12/13/2021              $318,750
23
              BLC Water Company, LLC                   12/21/2021              $752,250
24
              Royal Reservoirs, LLC                    02/08/2022              $325,125
25

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              Pacific Water Technology, LLC           12/03/2021              $2,062,472.21
 2
              Kdawg Crypto, LLC                       01/06/2022              $276,750
 3
              Indiana Water Technology, LLC           12/14/2021              $988,125
 4
              RCWSTECH1157, LLC, COLE                 06/09/2022              $1,500,000
 5
              WSTECH, LLC
 6
              Founders Mosaic Partners, LLC           09/28/2021              $1,115,625
 7

 8      F. First Fed has engaged in aggressive and bad faith litigation tactics designed to
           intimidate and harass Plaintiffs.
 9
            72.     All loan agreements, personal guaranties and other documents Plaintiffs have
10
     been induced to sign related to this matter are void and/or should be rescinded based on the
11
     facts stated above.
12
            73.     As noted, Plaintiffs have made payments on their fraudulent loans as long as
13
     they have been able to – some are current as of today – out of fear that First Fed will foreclose
14
     on them and take their personal assets unless they continue paying.
15
            74.     First Fed has insisted that Plaintiffs continue making payments under the
16
     constant threat of legal action and the loss of their homes and other assets.
17
            75.     First Fed has sued multiple investors for failing to make payments and have
18
     engaged in other aggressive litigation tactics designed to intimidate and harass.
19
            76.     Upon information and belief, First Fed has disclosed confidential borrower
20
     information to the counsel of at least one other bank that issued loans to Wear’s investors.
21
            77.     To gain a tactical advantage over these same Plaintiffs, First Fed, through
22
     counsel, violated the automatic stay that was imposed in connection with receivership
23
     proceedings originally initiated by First Fed itself.
24
            78.     First Fed has also unfairly and deceptively induced represented and
25

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     unrepresented parties to sign purported absolute and unconditional releases of First Fed without
 2
     informing them of the language or notifying their counsel. These agreements are void and
 3
     unenforceable.
 4
            79.       Plaintiffs seek all legal and equitable remedies necessary to bring this nightmare
 5
     to an end.
 6
                                            CAUSES OF ACTION
 7
                                       FIRST CAUSE OF ACTION
 8
             VIOLATIONS OF WASHINGTON CONSUMER PROTECTION ACT
 9
            80.       Plaintiffs reallege and incorporate all allegations of this Complaint.
10
            81.       As alleged herein, and under the facts of this case, First Fed has engaged in,
11
     and is engaging in unfair or deceptive acts or practices in connection with the business of
12
     lending and the sale of investment products in the state of Washington.
13
            82.       First Fed’s unfair or deceptive acts or practices have continued since before
14
     the point of sale, to this very day.
15
            83.       First Fed’s unfair or deceptive acts or practices occurred in trade or commerce
16
     and affect the public interest.
17
            84.       First Fed’s dealings with Plaintiffs since the Ponzi scheme has come to light
18
     have also been unfair and deceptive. First Fed has unfairly and deceptively induced
19
     represented and unrepresented parties to sign agreements with fine print releasing First Fed
20
     from all claims without notice to the other party’s counsel.
21
            85.       First Fed’s collection and litigation activity has been unfair and deceptive.
22
            86.       Plaintiffs have been injured in their business and property, as First Fed
23
     accepted investor funds – down payments, interest, and other fees – both before and after
24
     closing, and have failed to return these funds or otherwise deal with them in a fair and honest
25

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                                                                                      Fax (206) 625-0900
 1
     manner after the subject transactions were executed.
 2
            87.     First Fed’s unfair or deceptive acts or practices are ongoing and are a proximate
 3
     cause of Plaintiffs’ injuries.
 4
            88.     Plaintiffs have been damaged in an amount to be proven at trial. Plaintiffs are
 5
     entitled to all remedies available under Washington law, including treble damages, attorney’s
 6
     fees, equitable relief, constructive trust, and general and emotional distress damages.
 7
            89.     As noted, the Declaratory Relief Plaintiffs seek only declaratory and/or
 8
     injunctive relief that their agreements are rescinded.
 9
                                       SECOND CAUSE OF ACTION
10
                                            NEGLIGENCE
11
            90.     Plaintiffs reallege and incorporate all allegations of this Complaint.
12
            91.     As alleged herein, and under the facts of this case, First Fed owed duties to
13
     Plaintiffs under Washington state law that it negligently and recklessly breached.
14
            92.     First Fed’s duties under state law included, without limitation, duties to
15
     exercise reasonable care in all phases of the loan process including loan underwriting and to
16
     exercise reasonable care to disclose matters Plaintiffs were entitled to know and/or matters
17
     First Fed knew were necessary to make partial or ambiguous statements not misleading.
18
            93.     As alleged herein, First Fed breached their state law duties to Plaintiffs
19
     proximately causing them harm.
20
            94.     Plaintiffs have been damaged in an amount to be proven at trial.
21
                                       THIRD CAUSE OF ACTION
22
                                      BREACH OF FIDUCIARY DUTY
23
            95.     Plaintiffs reallege and incorporate all allegations of this Complaint.
24
            96.     As alleged herein, and under the facts of this case, First Fed assumed fiduciary,
25

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 1
     quasi-fiduciary and/or other heightened extra-contractual common law duties under
 2
     Washington state law to Plaintiffs.
 3
            97.     Special circumstances permeated First Fed’s relationship with Plaintiffs. First
 4
     Fed had superior access to information and superior knowledge and expertise that Plaintiffs
 5
     relied upon in choosing to invest.
 6
            98.     Plaintiffs reasonably and justifiably relied on First Fed to guide them through
 7
     the loan process and to disclose any material information bearing on the transaction.
 8
            99.     First Fed breached these state law duties causing Plaintiffs harm.
 9
            100.    Plaintiffs have been damaged in an amount to be proven at trial. Plaintiffs are
10
     entitled to all remedies under Washington law on account of First Fed’s breach of fiduciary
11
     or heightened duties.
12
                                    FOURTH CAUSE OF ACTION
13
                              VIOLATIONS OF CHAPTER 21.20 RCW
14
            101.    Plaintiffs reallege and incorporate all allegations of this Complaint.
15
            102.    As alleged herein, and under the facts of this case, transactions Plaintiffs were
16
     induced to enter into with Wear and First Fed were unregistered securities transactions under
17
     Washington law.
18
            103.    First Fed is liable as a seller of unregistered securities under RCW 21.20 in
19
     that that it was a substantial contributor to the sale of unregistered securities.
20
            104.    First Fed played a necessary and material role in the consummation of the
21
     transactions with Wear. But for the funds supplied by First Fed, the transactions would never
22
     have occurred in the first place.
23
            105.    Plaintiffs are entitled to all rights and remedies provided by Washington law
24
     and RCW 21.20, including, without limitation, rescission and recessionary damages such as
25

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                                                                                     Fax (206) 625-0900
 1
     down payments, monthly payments, interest and fees, together with prejudgment interest,
 2
     costs, and reasonable attorneys’ fees.
 3
             106.   To the extent required, Plaintiffs hereby tender back to First Fed all securities
 4
     purchased.
 5
             107.   Furthermore, the Bank Governor Defendants are liable as officers, directors
 6
     and control persons pursuant to RCW 21.20.430. They are jointly and severally liable for the
 7
     damages caused by First Fed’s violations of RCW 21.20 in an amount to be proven at trial.
 8
                                      FIFTH CAUSE OF ACTION
 9
             COMMON LAW MISREPRESENTATION / DUTIES OF DISCLOSURE
10
             108.   Plaintiffs reallege and incorporate all allegations of this Complaint.
11
             109.   As alleged herein, and under the facts of this case, First Fed is also liable to
12
     Plaintiffs under the law of misrepresentation.
13
             110.   First Fed owed Plaintiffs state law duties to disclose material information by
14
     virtue of (a) fiduciary, quasi-fiduciary, or heightened duties, (b) First Fed’s knowledge of
15
     facts which were peculiarly within the knowledge of First Fed and not readily obtainable by
16
     Plaintiffs, (c) particular Plaintiffs lack of relevant business experience, (d) Plaintiffs’ reliance
17
     on First Fed’s specialized knowledge and experience, and/or (e) other state statutory or legal
18
     duty.
19
             111.   First Fed’s failure to disclose proximately caused Plaintiffs’ damages in an
20
     amount to be proven respectively at trial. Plaintiffs are entitled to all legal and equitable
21
     remedies available under Washington law including without limitation damages in an amount
22
     to be proven at trial.
23
                                      SIXTH CAUSE OF ACTION
24
                              DECLARATORY AND INJUNCTIVE RELIEF
25

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                                                                                      Fax (206) 625-0900
 1
               112.   Plaintiffs reallege and incorporate all allegations of this Complaint.
 2
               113.   Plaintiffs seek declaratory relief from the Court finding that the loan
 3
     agreements, personal guaranties and other security instrument that Plaintiffs were induced to
 4
     sign are void and unenforceable against them.
 5
               114.   Plaintiffs injunctive relief against First Fed precluding First Fed from forcing
 6
     the subject agreements against them.
 7
                                    SEVENTH CAUSE OF ACTION
 8
                                        IN THE ALTERNATIVE
 9
                              CLAIMS UNDER FOREIGN STATE LAW
10
               115.   Plaintiffs reallege and incorporate all allegations of this Complaint.
11
               116.   Plaintiffs reserve the right to assert any and all claims under the laws of the
12
     following states insofar as they are deemed applicable: Oregon, California, Connecticut,
13
     Florida, Illinois, Indiana Florida, Michigan.
14
                                        REQUEST FOR RELIEF
15
               WHEREFORE, Plaintiffs respectfully requests that the Court award the following
16
     relief:
17
               1.     For orders conforming Plaintiffs’ claims to the evidence developed in
18
     discovery and presented at trial under state law;
19
               2.     For any and all legal or equitable remedies available under state law;
20
               3.     For awards of damages and equitable relief available under state law against
21
     First Fed in an amount and of a nature to be determined at trial;
22
               4.     For awards of all remedies available under RCW 21.20 and/or RCW 19.86;
23
               5.     For prejudgment interest on any portion of the damages award that is for a
24
     liquidated amount;
25

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                                                                                     Fax (206) 625-0900
 1
            6.        For injunctive and declaratory relief as requested herein or otherwise supported
 2
     by the evidence under state law;
 3
            7.        For alter ego liability and piercing the corporate veil as applicable;
 4
            8.        For joint and several liability under applicable law;
 5
            9.        For an award of attorneys’ fees and costs incurred in this action;
 6
            10.       Civil penalties under state law;
 7
            11.       Damages for emotional distress, mental anguish, and any other general
 8
     damages;
 9
            12.       Punitive and treble damages;
10
            13.       Any and all remedies available to Plaintiffs under applicable foreign state law;
11
            14.       Leave to amend to add additional claims and Defendants based on further
12
     discovery; and
13
            15.       For such other and further relief as the Court deems just, equitable, or
14
     warranted by law.
15
           DATED this 6st day of September, 2024.
16
                                                          CORR CRONIN LLP
17

18
                                                          s/ John T. Bender
19                                                        John T. Bender, WSBA No. 49658
                                                          CORR CRONIN LLP
20                                                        1015 Second Avenue, Floor 10
                                                          Seattle, WA 98104-1001
21                                                        Telephone: 206-625-8600
22                                                        Email: jbender@corrcronin.com,

23                                                        Jack M. Lovejoy
                                                          CORR CRONIN LLP
24                                                        1015 Second Avenue, Floor 10
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 2

 3                                         Counsel for Plaintiffs Indiana Water
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 4                                         COLEWSTECH, LLC, RCWSTECH 1157,
                                           LLC, Royal Reservoirs, LLC, Chaurishi
 5                                         Retail Enterprises, LLC, Pacific Water
                                           Technology, LLC, Kwansoo Lee, Brian
 6                                         Chu, Larina Chu, David Schroeder, Sarah
 7                                         Schroeder, Ron Cole, Karen Lavin, and
                                           Basant Kumar
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                                           MIX SANDERS THOMPSON, PLLC
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                                           s/Michael K. Rhodes
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19                                         Counsel for Plaintiffs Mosaic Capital
                                           Partners and Tyler Sadek
20

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22

23

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APPENDIX A
 1
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                                           2024 AUG 05 02:32 PM
 2                                             KING COUNTY
                                          SUPERIOR COURT CLERK
 3                                                E-FILED
                                          CASE #: 24-2-08418-5 SEA
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                          SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8

 9
      FIRST FED BANK, a Washington state bank        No. 24-2-08418-5 SEA
10    corporation,
                                                     JUNE 28, 2024 DECLARATION OF KEVIN
11                                 Plaintiff,        NOONEY
12            vs.                                    SUBMITTED IN SUPPORT OF PACIFIC
                                                     PARTIES’ RESPONSE TO RECEIVER’S
13                                                   MOTION FOR INSTRUCTIONS
      IDEAL PROPERTY INVESTMENTS, LLC, a
14
      Washington limited liability company;
15
                                    Defendant.
16

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                                                                            CORR CRONIN LLP
        JUNE 28, 2024 DECLARATION OF KEVIN NOONEY – 1                  1015 Second Avenue, Floor 10
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 7
                                      STATE OF WASHINGTON
 8                               SNOHOMISH COUNTY SUPERIOR COURT
 9
   PACIFIC WATER TECHNOLOGY, LLC, et
10 al.,

11                           Plaintiffs,
                                                            No. 24-2-02887-31
            v.                                              JUNE 28, 2024 DECLARATION OF KEVIN
12                                                          NOONEY
13 RYAN WEAR, et al.,

14                           Defendants.

15

16
     I, Kevin Nooney, declare as follows:
17
        1. I am over the age of 18 and have personal knowledge of the matters set forth in this
18
     Declaration. I am competent to testify to these matters and would do so if called upon.
19
         2. I have worked for Creative Technologies full time for 4 years.
20
         3. My position is Investment Relations & Internal Finance.
21
         4. As Investment Relations & Internal Finance, my duties included securing financing for
22
             property purchases and for company growth, including working capital and equipment
23
             loans.
24
         5. Prior to working for Creative, I worked in the banking industry for over twenty years as a
25
             commercial loan officer. In or about 1987, I joined Interwest Bank in Marysville,
26
             Washington, as a commercial real estate loan officer. In 1998, I took a position at Colonial
27

JUNE 28, 2024 NOONEY DECLARATION - 1                                            ARD LAW GROUP PLLC
PWT V. WEAR, No. 24-2-02887-31 (SNOHOMISH C 'TY SUP. CT.)                       P.O. Box 11633
                                                                                Bainbridge Island, WA 98110
                                                                                Phone: (206) 701-9243
 1           Bank Group as commercial loan officer in Bellevue, Washington. In 2000, I took a position

 2           as a commercial loan officer for Redmond National Bank, in Redmond, Washington. In

 3           approximately 2003, Redmond National was acquired by Venture Bank, which was based

 4           in Lacey, Washington. I became the Senior Vice President of Lending for the King County

 5           Division of Venture Bank.

 6       6. Larry Houk and I met in approximately 1991 through various banking colleagues. In 2005,

 7           Houk, then the President of Bank of Washington, hired me as the Senior Lending Officer

 8           for the Bank of Washington.

 9       7. In 2010, I opened my own consulting company, primarily helping builders work through

10           their real estate lending challenges with local banks. I believe it was around 2012 or later

11           Houk left the Bank of Washington and formed his own company, Northwest Financial

12           Services, through which he was offering loan broker services to the public.

13       8. In or about 2016, I joined First Citizens Bank as a Vice President of Commercial Banking.

14           In or about 2018, I joined Plaza Bank as a Vice President of Commercial Lending. Plaza

15           Bank was acquired shortly after by United Business Bank. Then, in or about 2019, I

16           temporarily joined Harbor Stone Credit Union as a Vice President of Commercial Lending.

17       9. In March 2020, I started working for Ryan Wear and Creative Technologies. In my role for

18           Creative, we engaged Houk to assist Creative and affiliates in obtaining financing, including

19           a $21.5 million direct business loan from First Fed Bank to Creative through the Federal

20           Reserve's Main Street Lending Program (the "Main Street Loan").

21      10. Houk had a relationship with First Fed Bank, specifically, Kasi O'Leary, First Fed's Vice

22           President of Commercial Lending. First Fed was doing Main Street Loans. As part of the

23           application and underwriting process, we provided substantial financial information for

24           Creative, Summit Management, WaterStation Management, and Ryan Wear and his

25           father, Richard Wear. First Fed ultimately approved us for several loans through the Main

26           Street Program, including $21.5 million for Creative, $4 million for WaterStation

27           Management, and $2.5 million for Summit Ventures.

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 1      11. To the best of my knowledge, the $2.5 million to Summit Ventures was used to acquire

 2           other vending companies, the $4 million to WaterStation Management was used for

 3           equipment purchases, and the Creative loan were used to acquire other manufacturing

 4           assets and potentially other real estate assets.

 5      12. Additionally, in or about February 2021, First Fed agreed to create an equipment lending

 6           program for prospective customers of Creative. In particular, Creative agreed to refer

 7           potential WaterStation customers to First Fed for financing their sale transactions. First

 8           Fed did not make a specific monetary allocation for this program, but agreed to review

 9           customer applications case by case according to First Fed's custom loan policy. Previously,

10           we had trouble finding a lender whose conditions we could satisfy completely for a program

11           like this. As a result, First Fed became a key partner whose assistance contributed

12          substantially to many equipment sale transactions to customers.

13      13. Houk was the broker on the subsequent equipment loans to customers and I understand

14           that as the loan broker he received commissions for these loans.

15      14. Under the terms of Creative's Main Street Loan, my understanding is that interest only

16           payments were required for the first three years, with annual principal pay to follow; I also

17           understand that by sometime in 2022 Creative was required to provide audited financials.

18           I understand that Creative ultimately failed to deliver the required audited financials on

19           time.

20      15. As a result, by early 2023, First Fed held Creative in default of the Main Street Loan. I

21           understand that this action forced Creative into negotiations with First Fed to avoid

22           consequences as a result of the default. The Main Street Loan was initially guaranteed by

23           Ryan Wear and Creative. However, in exchange for forbearance of the Main Street Loan,

24           Creative entered into a series of new credit agreements and workout terms with First Fed.

25      16. Among these new agreements, First Fed required Creative and several real estate holding

26           companies organized by Wear, including Ideal Property Investments LLC ("Ideal"), to

27           grant First Fed deeds of trust against at least 20 properties if not more, many of which were

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                                                                                 Phone: (206) 701-9243
 1             held by Ideal and were purchased with funds provided by Creative as referenced in my

 2             earlier declaration.

 3         17. Creative had a similarly close partnership with UniBank that preceded the partnership with

 4             First Fed. I had long-standing personal relationships with UniBank loan officer Wan Kim

 5             and Chief Credit Officer Sunny Kim. I knew Sunny Kim from my time working at other

 6            banks. I knew Wan through the industry. We provided them with substantial financial

 7             information prior to referring dozens of customers to UniBank. I understand UniBank

 8            made a substantial number of loans to Creative customers, similarly, like First Fed,

 9            substantially contributing to these sale transactions. Wan Kim himself was an investor and

10            I understand he was reimbursed by Creative in 2022. Houk also served as the broker for

11            these loans which I understand he received commission from the bank.

12         18. I declare under penalty of perjury of the laws of the state of Washington that the foregoing

13 is true and correct.

14 ///

15   ///
16 Signed this 2$ th day of June in_5;411‘, Washington.

17

18                                             By:

19                                                      Kevin Nooney

20

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APPENDIX B
